                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 1 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

                                                                   )
                                                                   )
                                                                   )
Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
                                                                   )
                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Ace Initiative Group LLC, a limited liability company
30 N Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                        Antonio Rodriguez-
                                                                                                        Gonzalez
Date:   02/22/2019                                                                                      2019.02.22 11:22:41 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                      Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 2 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 3 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

                                                                   )
                                                                   )
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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
                                                                   )
                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Connected Ad Station LLC, a limited liability company
30 N. Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                        Antonio Rodriguez-
                                                                                                        Gonzalez
Date:   02/22/2019                                                                                      2019.02.22 11:22:59 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                      Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 4 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 5 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

                                                                   )
                                                                   )
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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
                                                                   )
                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
F9 Advertising LLC, a limited liability company
10 Palmas Drive, Humacao, Puerto Rico, 00791


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                       Antonio Rodriguez-
                                                                                                       Gonzalez
Date:   02/22/2019                                                                                     2019.02.22 11:23:16 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                      Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 6 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 7 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
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                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Fastlane Sales LLC, a limited liability company
30 N. Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                       Antonio Rodriguez-
                                                                                                       Gonzalez
Date:   02/22/2019                                                                                     2019.02.22 11:23:38 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                      Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 8 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 9 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
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                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Hyper Marketing Solutions LLC, a limited liability company
30 N. Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                       Antonio Rodriguez-
                                                                                                       Gonzalez
Date:   02/22/2019                                                                                     2019.02.22 11:25:18 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 10 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                  Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 11 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
                                                                   )
                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Media Redefined LLC, a limited liability company
30 N. Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                       Antonio Rodriguez-
                                                                                                       Gonzalez
Date:   02/22/2019                                                                                     2019.02.22 11:25:58 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 12 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                  Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 13 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
                                                                   )
                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Primed Marketing LLC, a limited liability company
30 N. Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                       Antonio Rodriguez-
                                                                                                       Gonzalez
Date:   02/22/2019                                                                                     2019.02.22 11:26:14 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 14 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                  Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 15 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

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Federal Trade Commission                                           )
                          Plaintiff(s)                             )
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                              v.                                           Civil Action No. 19-cv-1174(DRD)
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                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Responsive Media LLC, a limited liability company
30 N. Gould Street, Suite R, Sheridan, WY 82801


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                Antonio Rodriguez-
                                                                                                Gonzalez
Date:   02/22/2019                                                                              2019.02.22 11:26:35 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 16 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                  Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 17 of 18

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

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                                                                   )
Federal Trade Commission                                           )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 19-cv-1174(DRD)
                                                                   )
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                                                                   )
F9 Advertising LLC, a limited liability company, et al.            )
                                                                   )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
 Gopalkrishna Pai
 MD14 Plaza 10, Bayamon PR 00961


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Federal Trade Commission, c/o Gregory Madden and Michelle Schaefer

600 Pennsylvania Ave., NW, Mailstop CC-9528, Washington, DC 20580


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT
                                                                                                       Antonio Rodriguez-
                                                                                                       Gonzalez
Date:   02/22/2019                                                                                     2019.02.22 11:26:51 -04'00'
                                                                                      Signature of Clerk or Deputy Clerk
                   Case 3:19-cv-01174-DRD Document 3-1 Filed 02/22/19 Page 18 of 18


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 19-cv-1174(DRD)

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
